                    Case: 1:21-mj-00161-KLL Doc #: 1-2 Filed: 02/18/21 Page: 1 of 1 PAGEID #: 30
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                                                                    IRUWKH
                                                          District of Columbia
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                               Defendant


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(name of person to be arrested)         %(11,( $/9,1 3$5.(5                                                                                
ZKRLVDFFXVHGRIDQRIIHQVHRUYLRODWLRQEDVHGRQWKHIROORZLQJGRFXPHQWILOHGZLWKWKHFRXUW

u ,QGLFWPHQW                u 6XSHUVHGLQJ,QGLFWPHQW         u ,QIRUPDWLRQ        u 6XSHUVHGLQJ,QIRUPDWLRQ             ✔ &RPSODLQW
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u 3UREDWLRQ9LRODWLRQ3HWLWLRQ                u 6XSHUYLVHG5HOHDVH9LRODWLRQ3HWLWLRQ       u 9LRODWLRQ1RWLFH          u 2UGHURIWKH&RXUW

7KLVRIIHQVHLVEULHIO\GHVFULEHGDVIROORZV
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                                                                                             Issuing officer’s signature

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                                                                                               Printed name and title


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DW (city and state)                                             

'DWH
                                                                                            Arresting officer’s signature



                                                                                               Printed name and title
